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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


  SYMBOLOGY INNOVATIONS, LLC,                         )
                                                      )
                           Plaintiff,                 )
                                                      )   Case No. 1-20-cv-20370-KMM
          v.                                          )
                                                      )
  FOR LIFE PRODUCTS, LLC,                             )
                                                      )
                           Defendant.                 )
                                                      )


           JOINT NOTICE OF DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
                              FOR LIFE PRODUCTS, LLC

          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

  provide notice that Plaintiff Symbology Innovations, LLC dismisses WITHOUT prejudice all

  claims by Plaintiff Symbology Innovations, LLC against Defendant For Life Products, LLC. Each

  party shall bear its own costs, expenses, and attorneys’ fees.


  Dated: April 21, 2020                               Respectfully submitted,

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                                                      BY: /s Howard L. Wernow
  By: /s/ Terry L. Clark                              Howard L. Wernow, B.C.S.
  Terry Clark                                         Attorney Registration No. 107560




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                                        NOTICE OF VOLUNTARY DISMISSAL
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                                                    BUDO LAW, P.C.
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                                           CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via e-mail on
  this 21st day of April 2020, on all counsel of record, including the following:

                 BASS, BERRY & SIMS PLC
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                                                        /s/ Howard L. Wernow
                                                        Howard L. Wernow




                                                    2
                                  NOTICE OF VOLUNTARY DISMISSAL
